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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DONNA GREIFENSTEIN, individually                     )
and on behalf of all others similarly                )
situated,                                            )
                                                     )
               Plaintiff,                            )      No. 12-cv-09235
                                                     )
       v.                                            )
                                                     )      Judge Edmond E. Chang
THE ESTÉE LAUDER CORPORATION,                        )
INC., ESTÉE LAUDER, INC., and                        )
ORIGINS NATURAL RESOURCES, INC.,                     )
et al.,                                              )
                                                     )
               Defendants.                           )

                            MEMORANDUM OPINION AND ORDER

       Plaintiff Donna Greifenstein brought this putative class action against

Defendants The Estée Lauder Companies Inc.,1 Estée Lauder, Inc., and Origins

Natural Resources, Inc. (collectively, “Origins”), Macy’s, Inc., Sephora USA, Inc., and

Dillard’s, Inc. R. 1, Compl. Greifenstein alleges that Origins violated the Illinois

Consumer Fraud and Deceptive Practices Act (ICFA), 815 ILCS 505/1 et seq., by falsely

marketing and selling its product, Origins Plantscription Anti-aging Serum.2 See id.


       1
        This party is incorrectly captioned as “The Estée Lauder Corporation, Inc.”
       2
         The Court has jurisdiction under 28 U.S.C. § 1332(d)(2). This statute authorizes
jurisdiction over any class action in which the matter in controversy exceeds $5,000,000, as
long as any member of the class of plaintiffs is a citizen of a different state from any defendant.
28 U.S.C. § 1332(d)(2)(A). Here, Greifenstein and Origins are citizens of different states;
Greifenstein is a citizen of Illinois and the Origins companies are citizens of Delaware and New
York, where they are incorporated and have their principal places of business, respectively. See
Compl. ¶¶ 10, 12-14. Additionally, the amount in controversy could exceed $5,000,000,
depending on the total sales of Plantscription serum, which retails for around $55 or $75 per
bottle. Id. ¶ 21. Thus, it is a legal possibility for the value of this suit to meet the $5,000,000
threshold.
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¶¶ 49-60. Origins moved to dismiss for failure to state a claim pursuant to Federal

Rule of Civil Procedure 12(b)(6). R. 31.3 For the following reasons, Defendants’ motion

is granted, but the dismissal is without prejudice.

                                      I. Background

       In evaluating this motion to dismiss, the Court accepts as true the complaint’s

factual allegations and draws reasonable inferences in Plaintiff’s favor. Ashcroft v.

Al-Kidd, — U.S. —, 131 S. Ct. 2074, 2079 (2011). Origins manufactures, markets, and

sells cosmetics products. See Compl. ¶¶ 12-14. In early 2011, Origins launched Origins

Plantscription Anti-aging Serum, a new line of anti-aging cosmetics products that is

specially formulated with Anogeissus leiocarpus, a tree bark found in West Africa. Id.

¶¶ 1, 19, 23. Origins began selling the Plantscription serum through various outlets.

See id. ¶ 20. In marketing the serum, Origins advertised—in magazines, on the

Internet, and on in-store displays—that the serum had the following properties: (1) it

has “88% of the visible wrinkle-reducing power of a prescription”; (2) it is “clinically

proven to help visibly repair 4 major signs of aging” “in just 4 weeks”; (3) it repairs

“vertical fret lines” and “stubborn furrows”; and (4) it “help[s] rebuild natural collagen

and elastin fibers,” making skin “clinically firmer, smoother, and more lifted-looking.”

Id. ¶¶ 2, 4.




       3
       After Macy’s, Sephora, and Dillard’s separately moved to dismiss, Greifenstein
voluntarily dismissed those parties from the suit. R. 46. The Court therefore terminated their
motion to dismiss [R. 34] as moot. R. 49.

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      In September or October of 2012, Greifenstein saw those advertisements on a

Macy’s in-store display in the Woodfield Shopping Mall (located in Schaumburg,

Illinois). Id. ¶ 10. She purchased a one-ounce bottle of Plantscription serum for around

$55. Id. Unfortunately, she was not happy with her purchase. She alleges that the

wrinkle-repair claims are false, disproved by competent clinical evidence and based on

flawed company-sponsored testing. Id. ¶ 22. She also alleges that had she known that

the wrinkle-repair claims were false, she would never have purchased the serum in the

first place. Id. ¶ 11. And she claims that Origins prices the serum at a premium over

its own and over its competitors’ products. Id. ¶ 39.

      As a result, Greifenstein filed this lawsuit against Origins, claiming that its

serum advertisements were fraudulent and deceptive in violation of the ICFA.

Id. ¶¶ 49-60. She seeks either nationwide or Illinois class certification for her claim.

Id. ¶¶ 40-48. In response, Origins moved to dismiss. R. 31.

                               II. Standard of Review

      “A motion under Rule 12(b)(6) challenges the sufficiency of the complaint to state

a claim upon which relief may be granted.” Hallinan v. Fraternal Order of Police

Chicago Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). “[W]hen ruling on a defendant’s

motion to dismiss, a judge must accept as true all of the factual allegations contained

in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007). A “complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. v.

Twombly, 550 U.S. 544, 570 (2007)). These allegations “must be enough to raise a right

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to relief above the speculative level.” Twombly, 550 U.S. at 555. And the allegations

that are entitled to the assumption of truth are those that are factual, rather than

mere legal conclusions. Iqbal, 556 U.S. at 679.

       Ordinarily, under Federal Rule of Civil Procedure 8(a)(2), a complaint generally

need only include “a short and plain statement of the claim showing that the pleader

is entitled to relief.” Fed. R. Civ. P. 8(a)(2). But claims alleging fraud must also satisfy

the heightened pleading requirement of Federal Rule of Civil Procedure Rule 9(b),

which requires that “[i]n alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b)

(emphasis added). And Rule 9(b)’s heightened pleading standard applies to fraud

claims brought under the ICFA. Pirelli Armstrong Tire Corp. Retiree Med. Benefits

Trust v. Walgreen Co., 631 F.3d 436, 441 (7th Cir. 2011) (citation omitted). Thus, Rule

9(b) requires that Greifenstein’s complaint “state the identity of the person making the

misrepresentation, the time, place, and content of the misrepresentation, and the

method by which the misrepresentation was communicated to the plaintiff.”

Uni*Quality, Inc. v. Infotronx, Inc., 974 F.2d 918, 923 (7th Cir. 1992) (internal

quotation marks and citations omitted). Put differently, her complaint “must describe

the who, what, when, where, and how of the fraud.” Pirelli, 631 F.3d at 441-42

(internal quotation marks and citation omitted).

                                        III. Analysis

       Greifenstein    alleges   that     Origins   fraudulently    misrepresented      the

wrinkle-reducing capabilities of the Plantscription serum in violation of the ICFA.

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Under section 2 of the Act, “[u]nfair methods of competition and unfair or deceptive

acts or practices . . . with intent that others rely upon the concealment, suppression or

omission of such material fact . . . are . . . unlawful whether any person has in fact been

misled, deceived or damaged thereby.” 815 ILCS 505/2. So in order to bring a claim

under the ICFA, Greifenstein must allege with particularity: (1) a deceptive act or

practice by Origins, (2) Origins’ intent that she rely on the deception, (3) the occurrence

of the deception in the course of conduct involving trade or commerce, and (4) actual

damage to her (5) proximately caused by the deception. Oliveira v. Amoco Oil Co., 776

N.E.2d 151, 160 (Ill. 2002) (citations omitted). Of these five elements, Origins does not

challenge whether the second (intent) and third (commerce) elements are adequately

pled. See R. 32, Defs.’ Br. at 6-15. This dispute, then, is over whether Greifenstein has

pled with particularity that Origins committed a deceptive act that proximately caused

her actual damage.

                                 A. Proximate Cause

      At the outset, under the ICFA and Rule 9(b), Greifenstein must plead proximate

cause with particularity. De Bouse v. Bayer AG, 922 N.E.2d 309, 313 (Ill. 2009) (citation

omitted). Greifenstein’s complaint alleges that she “was exposed to and saw

Defendants’ wrinkle repair claims at the point-of-sale by reading the in-store Product

display located on the shelf right next to the Product.” Compl. ¶ 10 (emphasis added).

She then alleges that she “paid approximately $55 for a 1-oz bottle of Plantscription

serum.” Id. Greifenstein thus pleads that she personally saw the Plantscription

advertisements and purchased the serum—with no intervening events in

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between—which adequately alleges proximate cause. Compare Oliveira, 776 N.E.2d

at 163-64 (affirming dismissal of ICFA claim because “plaintiff [did] not allege that he

saw, heard or read any of defendant’s ads, [so he] cannot allege that he believed that

he was [deceived]”), with Connick v. Suzuki Motor Co., Ltd., 675 N.E.2d 584, 595 (Ill.

App. Ct. 1996) (affirming reinstatement of ICFA claim because plaintiffs “allege that

their purchases occurred after the allegedly fraudulent statements, and the complaint

contains no facts showing an intervening cause that would break the chain of

proximate causation”). Greifenstein’s complaint satisfies the proximate-cause element.

                                    B. Deceptive Act

       Next, Greifenstein’s complaint must plead with particularity that Origins

committed a deceptive act. Oliveira, 776 N.E.2d at 160 (citations omitted). Origins

asserts that her complaint does not because it fails to identify what specific

Plantscription advertisements allegedly deceived her, when and where she made her

purchase, and how those advertisements are false (the “what,” “when,” “where,” and

“how”). Def.’s Br. at 5-12. The Court will address each argument in turn.

                      1. Specific Alleged Misrepresentations

       Origins first contends that Greifenstein’s complaint is factually deficient because

it fails to plead with particularity what the alleged misrepresentations were. See Defs.’

Br. at 6-8. Origins relies on two cases from this District for the principle that a plaintiff

must identify specific product advertisements in her complaint. See Ibarolla v. Nutrex

Research, Inc., 2012 WL 5381236, at *3 (N.D. Ill. Oct. 31, 2012); In re Sears, Roebuck

& Co. Tools Mktg. & Sales Practices Litig., 2009 WL 937256, at *6 (N.D. Ill. Apr. 6,

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2009). But the facts in those cases are different. In Ibarolla, a nutritional-supplement

purchaser merely alleged that she purchased “one or more” of six named products; the

court required her to plead which specific products she actually inspected and

purchased because it was implausible that the manufacturer had marketed all six

products identically. See 2012 WL 5381236, at *2. Similarly, in Sears, the complaint

simply alleged that the plaintiffs relied on advertising for an entire line of tools. 2009

WL 937256, at *4. Because the complaint itself acknowledged that ads for certain tools

within that line were not deceptive, the court held that the complaint was factually

deficient for failing to identify which specific tool advertisements the plaintiffs viewed.

See id. at *4, 6. So in both cases, the complaints impermissibly lumped together ads for

an entire group of products—some ads possibly fraudulent, some not—without

specifying which ads caused the plaintiffs to purchase which products.

       In contrast, Greifenstein complains only about the advertising associated with

a single, specific product—Plantscription Anti-aging serum. See, e.g., Compl. ¶¶ 1, 10,

12-14, 19. And she specifically lays out the four alleged misrepresentations she viewed

before making her purchase: (1) “88% of the visible wrinkle-reducing power of a

prescription,” (2) “clinically proven to help visibly repair 4 major signs of aging” “in just

4 weeks,” (3) repairs “vertical fret lines” and “stubborn furrows,” and (4) “help[s]

rebuild natural collagen and elastin fibers,” making skin “clinically firmer, smoother,

and more lifted-looking.” Id. ¶ 2. Although Origins takes issue with the complaint

because it subsequently refers to these alleged misrepresentations collectively (and not

verbatim) as the “wrinkle repair claims,” see Def.’s Br. at 6, no case that Origins cites

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holds that Rule 9(b) bars a complaint from referring to misrepresentations—after they

are laid out in full—in shorthand. So when Greifenstein alleges, for example, that she

“saw Defendants’ wrinkle repair claims at the point-of-sale,” Compl. ¶ 10, she alleges

that she saw the alleged misrepresentations described earlier in her complaint, see id.

¶ 2.

                        2. Date and Location of Purchase

       Second, Origins argues that the complaint fails to plead when and where

Greifenstein bought the serum, relying on Sefton v. Toyota Motor Sales, U.S.A., Inc.,

2010 WL 1506709 (N.D. Ill. Apr. 14, 2010). Defs.’ Br. at 11. But under Sefton,

Greifenstein must plead when and where she saw the alleged misrepresentations, not

when and where she purchased the serum. See 2010 WL 1506709, at *5 (“This

paragraph is insufficient to satisfy Rule 9(b) for several reasons. First, it does not

identify any specific communications, nor point to the particular signs, advertisements,

or manuals that were responsible for the misrepresentation.” (emphasis omitted)

(citation omitted)). And her complaint pleads when she saw the alleged

misrepresentations (“[i]n or around late-September or early-October 2012”) and where

she saw them (“by reading the in-store Product display located on the shelf right next

to the Product at a Macy’s store at the Woodfield Shopping Mall in Schaumburg,

Illinois”). Compl. ¶ 10. Greifenstein’s complaint thus pleads with particularity the

“when” and “where” of an ICFA claim.




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                                       3. Falsity

      Greifenstein’s complaint, though, does not plead with particularity how the

wrinkle-repair claims she identifies are false. In her response brief, she proposes two

theories of falsity. She first argues that the wrinkle-repair claims lack

substantiation—that they have “no competent clinical evidence” to support them

despite representations that the claims were “clinically proven” and “proven by

science.” Compl. ¶ 24; see also R. 45, Pl.’s Resp. at 7. True, an advertisement may be

fraudulent if the ad lacks substantiation, but only when the claim at issue implies that

support—any support—exists for the claim when there is none. Gredell v. Wyeth Labs.,

Inc., 854 N.E.2d 752, 756 (Ill. App. Ct. 2006); see also Bober v. Glaxo Wellcome PLC,

246 F.3d 934, 939 n.2 (7th Cir. 2001) (“[A] lack of substantiation is deceptive only when

the comparative claim at issue implies that there is substantiation for the claim made.”

(citation omitted)). And Greifenstein’s complaint itself alleges that substantiation

exists for Origins’ claims that the serum is “clinically proven” to reduce wrinkles. See

Compl. ¶ 25 (alleging that Origins collaborated with the University of Strasbourg to

test the serum). Greifenstein may quarrel that Origins failed to disclose the study’s

methodology and that Origins itself funded the study, see id., but the mere existence

of the study alone defeats her argument that Origins’ wrinkle-repair claims lack

substantiation. See Gredell, 854 N.E.2d at 756 (“Merely because a fact is unsupported

by clinical tests does not make it untrue.”). Despite Greifenstein’s dissatisfaction with

Origins’ testing methods and funding, the complaint itself in effect concedes that

substantiation does exist.

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      Greifenstein does not fare much better with her second theory of falsity, which

is that “there is clinical evidence that the Products do not actually have the

represented wrinkle repair benefits.” Pl.’s Resp. at 7. In response, Origins contends

that under Padilla v. Costco Wholesale Corp., 2012 WL 2397012, at *4 (N.D. Ill. June

21, 2012), Greifenstein must identify the specific studies referred to in the complaint;

references to unspecified “clinical evidence” is not enough. See Defs.’ Br. at 9. But that

was not the precise holding in Padilla. There, a purchaser of glucosamine supplements

alleged that unspecified clinical studies purported to show that Costco’s supplements

did not actually help “joint renewal and rejuvenation,” yet he alleged that different

advertising claims (that the supplement “nourishes joint and connective tissue” and

“supports joint cushioning”) were false. See Padilla, 2012 WL 2397012, at *4. Because

of this mismatch, the court required the purchaser to plead a higher level of detail

about how the identified claims were false—presumably by providing more factual

detail about the unspecified clinical studies. See id.; see also Padilla v. Costco

Wholesale Corp., 2013 WL 195769, at *3-4 (N.D. Ill. Jan. 16, 2003) (dismissing the

subsequently amended complaint because the findings of the newly cited studies still

failed to connect to the representations actually appearing on the supplement product

labels). Padilla thus does not exactly support the proposition that plaintiffs must

specifically identify clinical research when that research evaluated the same product

advertisements identified in their complaints. And Greifenstein does appear to have

linked the research to the specified wrinkle-repair claims. See, e.g., Compl. ¶¶ 11, 22.



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      In any event, it is clear that Greifenstein rests her falsity argument on the

outcome of one specific clinical study. In her complaint, she alleges that the National

Advertising Division (NAD), which is administered by the Better Business Bureau and

is an investigative arm of the advertising industry’s self-regulatory body, recently

examined the four wrinkle-repair claims cited in her complaint. Compl. ¶ 26. Following

its review, the NAD recommended that Origins discontinue claims suggesting that

Plantscription serum provides comparable benefits to prescription anti-wrinkle

products, and also recommended that it discontinue the use of terms such as “repair”

because they “communicate a far broader performance benefit than the evidence in the

record supports.” Id. ¶ 27. Thus, Greifenstein argues that she does have specific clinical

evidence that the wrinkle-repair claims identified in her complaint are false. See Pl.’s

Resp. at 7-9.

      Injecting the NAD study into the complaint, however, does not plead with

particularity that Origins’ wrinkle-repair claims are false. As an initial matter, the

NAD study did not even address one of the main wrinkle-repair claims that

Greifenstein alleges is false: that the serum helps to “rebuild natural collagen and

elastin fibers,” making skin “clinically firmer, smoother, and more lifted-looking.”

Compl. ¶ 2; see also R. 48-1, Defs.’ Exh. 2, NAD Study at 1 (detailing the express

Plantscription serum claims that the NAD actually studied). Because the NAD study

is again the only basis in Greifenstein’s complaint for how the “rebuild” wrinkle-repair

claims are false, she has not pled their falsity with sufficient particularity.



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       As for the other wrinkle-repair claims, the NAD’s findings that they were false

were not the last word. Following the NAD study, Origins appealed to the National

Advertising Review Board (NARB).4 In January 2013—nearly two months before

Greifenstein filed her response brief to Origins’ motion to dismiss—the NARB

overturned the majority of the NAD’s findings. R. 48-1, Defs.’ Exh. 4, NARB Appeal.5

Specifically, the NARB decision reversed the NAD’s conclusions regarding Origins’

second and third wrinkle-repair claims (“visibly helps repair facial fret lines [and]

furrows” and “clinically proven to help visibly repair 4 major signs of aging”). See

NARB Appeal at 5-6. According to the NARB, “[b]ased on the overall context of the

advertisement, and the fact that the product advertised is a cosmetic . . . the ‘help



       4
        The NARB is the appellate body for advertising industry self-regulation. When an
advertiser disagrees with an NAD recommendation, the advertiser may appeal the decision to
the NARB. About the National Advertising Review Board, THE ADVERTISING SELF-REGULATORY
COUNCIL, http://www.asrcreviews.org/2011/08/about-the-national-advertising-
review-board (last visited July 15, 2013).
       5
         The Court may properly consider both the NAD and NARB studies, even at the
dismissal-motion stage. “[D]ocuments attached to a motion to dismiss are considered part of
the pleadings if they are referred to in the plaintiff’s complaint and are central to his claim.
Such documents may be considered by a district court in ruling on the motion to dismiss.” 188
LLC v. Trinity Indus., 300 F.3d 730, 735 (7th Cir. 2000) (internal quotation marks and citation
omitted). Although Greifenstein contends that evaluating the merits of the NAD study is
premature, Pl.’s Resp. at 8-9, it was she who injected the study into this case by relying on it
and nothing else—yet did not attach it as an exhibit—to allege that the wrinkle-repair claims
are false. See Compl. ¶¶ 26-27. She thus made the NAD study central to her ICFA claim. And
the NAD study itself ends with Origins’ “request[ng] that all of NAD’s recommendations
adverse to Origins be referred to an NARB panel for review.” NAD Study at 9. Because the
NAD study references the NARB appeal, that appeal is likewise fair game now. Cf. 188 LLC,
300 F.3d at 735 (“If Form 4 was indeed on the reverse side of the parties’ contract or otherwise
was incorporated into it, then Form 4 is relevant and was properly considered.” (emphasis
added)). And even if there had been no explicit reference in the NAD study to the upcoming
appeal, Greifenstein cannot ask the Court to put blinders on and ignore the appellate review
of the study; it would be like relying on a jury finding and ignoring its reversal on appeal.

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visibly repair’ language in the advertisements reasonably conveys the less dramatic

message that the Plantscription products improve facial appearance with respect to

lines and wrinkles.” Id. at 6. And the NARB panel concluded that “Origins has

provided a reasonable basis to support this message.” Id. The NARB appeal—which

again is referred to in the NAD study that Greifenstein’s complaint relies

upon—therefore directly contradicts her own allegations that the “visibly helps repair”

language is false. See, e.g., Compl. ¶¶ 2-3.

      The NARB appeal does, it is true, provide Greifenstein a basis for a potential

ICFA claim. The NARB actually upheld the NAD’s findings on the first wrinkle-repair

claim (“88% of the visible wrinkle-reducing power of a prescription”), but on a very

narrow ground. The NARB found that test subjects using Plantscription serum did

reduce facial lines and wrinkles by an amount that was around 88% of the wrinkle

reduction achieved by subjects using a prescription anti-wrinkle product. NARB Appeal

at 4. But this improvement did not last: the wrinkle reduction significantly decreased

after 8, 12, 16, and 20 weeks. Id. Thus, the NARB concluded that the “88% of the

visible wrinkle-reducing power of a prescription” language was false—not because the

serum lacked 88% of the wrinkle-reducing power of a prescription, but because that

claim, when read with the promise of wrinkle improvements “in just 4 weeks,”

“reasonably conveys a message that the promised effectiveness starts at 4 weeks and

continues afterwards.” Id. at 5. This message, according to the NARB, was “not

supported by the record.” Id. In other words, that particular representation is allegedly

false because it implies that the serum’s wrinkle-reduction power (which is 88% of

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prescription strength) would continue beyond four weeks when it does not. Accordingly,

any facts alleging that the “88%” claim is false specifically because the wrinkle-

reduction power starts to wane after four weeks would satisfy Rule 9(b).

         But the problem for Greifenstein is that her complaint does not allege that the

serum stopped working after four weeks, or even that it stopped working as well after

four weeks. Rather, the gist of her complaint—although she never says this outright

(more on that below)—is that the serum did not work for her at all. See, e.g., Compl.

¶ 3 (“In truth, however, Plantscription serum does not provide the represented wrinkle

repair benefits, let alone in ‘just 4 weeks’ . . . .”); id. ¶ 38 (“As a result, Plaintiff and the

Class members have been damaged in their purchases of this Product and have been

deceived into purchasing a Product that they believed, based on Defendants’

representations, was nearly as effective as prescription strength anti-aging products

and would repair wrinkles and lines in just 4 weeks, when, in fact, it does not.”). Such

broad allegations reach beyond what the NARB appeal—which is, once again, central

to the complaint’s allegation of falsity—ultimately concluded was the only

misrepresentation in the Origins wrinkle-repair claims (namely, that the serum’s

wrinkle-reduction effect lasts beyond four weeks). The complaint thus does not plead

with sufficient particularity that the “88%” wrinkle-repair claim is false. Without a

more nuanced theory of falsity, Greifenstein’s complaint cannot stand in its current

state.




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                                  C. Actual Damage

      It is worth discussing, for completeness’s sake, Origins’s argument that the

complaint does not adequately plead damages. Under the ICFA and Rule 9(b), the

complaint is required to plead with particularity how Greifenstein suffered actual

damage from the alleged misrepresentations. See, e.g., Avery v. State Farm Mut. Auto.

Ins. Co., 835 N.E.2d 801, 858-59 (Ill. 2005) (citations omitted). Put differently,

Greifenstein must allege that she was “harmed in a concrete, ascertainable way” by the

defendant’s deception, leaving her “tangibly worse off.” Price v. Philip Morris, Inc., 848

N.E.2d 1, 55 (Ill. 2005) (Karmeier, J., concurring).

      Greifenstein contends that she was harmed because Origins denied her “the

benefit of her bargain”: she paid an unwarranted premium for the serum after seeing

Origins’ alleged misrepresentations. See Pl.’s Resp. at 13; Compl. ¶ 39. “Illinois courts

have adopted the benefit-of-the-bargain rule . . . whereby damages are generally

calculated by assessing the difference between the actual value of the property sold and

the value the property would have had at the time of the sale if the representations

had been true.” Mulligan v. QVC, Inc., 888 N.E.2d 1190, 1196 (Ill. App. Ct. 2008)

(citation omitted). Presumably, the value the serum would have had if the wrinkle-

repair claims were true is the amount it currently retails for: $55 or $75. Compl. ¶ 21.

Greifenstein alleges that she “would not have purchased Plantscription serum had she

known that the wrinkle repair claims were false and misleading.” Id. ¶ 37. So

Greifenstein’s actual-damages theory is that she would be entitled to a refund of the

$55 purchase price, because she would not have bought the serum absent the false

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wrinkle-repair claims. In light of the fact that Greifenstein alleges that the serum

simply did not work for her at all, the allegation that she would not have bought the

serum is enough to allege (proof would be another matter) actual damages.

                                      IV. Conclusion

       For the reasons discussed above, Greifenstein’s complaint does not plead the

deceptive-act element with the particularity that Rule 9(b) demands. Origins’ motion

to dismiss [R. 31] is therefore granted.

       Dismissal, however, shall be without prejudice. The Court ought to “freely give

leave [to amend the complaint] when justice so requires,” Fed. R. Civ. P. 15(a)(2),

especially at this stage in the litigation.6 And although the current complaint is

factually deficient in the ways discussed above, it is possible that Greifenstein could

offer an amended complaint—if Rule 11 obligations allow it—that is sufficient.

Greifenstein’s complaint is accordingly dismissed without prejudice. If she wishes to

file an amended complaint, she must do so on or before August 15, 2013. If no amended

complaint is filed by that date, then this dismissal shall convert to dismissal with




       6
        Although Origins argues that Scott v. GlaxoSmithKline Consumer Healthcare, L.P., No.
05-cv-03004 (N.D. Ill. Jan. 17, 2007), R. 33, supports dismissal with prejudice here, that order
denied a motion to amend a dismissal with prejudice. So that motion was brought after
judgment had already been entered. See id. Scott thus does not bear heavily when deciding
whether to dismiss without prejudice before the entry of judgment, and in any event is not
controlling.

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prejudice as of that date without further order of the Court. The status hearing of July

29, 2013 is reset to August 21, 2013 at 10 a.m., to track the case.



                                               ENTERED:


                                                   s/Edmond E. Chang
                                               Honorable Edmond E. Chang
                                               United States District Judge


DATE: July 26, 2013




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